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                  UNITED STATE,S DISTRICT COURT
                       DISTRICT OF MINNE,SOTA


United States of Amedca.               Case   No. 19-cr-0096   CWMS7         /HB)
                        Plaintiff,

      V.                                        FINALJURY
                                                INSTRUCTIONS
Travis Kyle Mayer,

                        Defendant.



                        JURY INSTRUCTION            1


       Members of the j:llry, the instructions I gave you at the beginning of
the trial and during the trial remain in effect. f now give you some additional
instructions.

      You must, of course, continue to follow the instructions I gave you
earlie4 as well as those I grve you now. You must not single out some
instructions and ignore othets, because all. are important. This is true even
though some of those I gave you at the beginning of and during tnal arc not
repeated here.

      The instructions I am about to give you nowwill be avatlable to you in
the jury room. I emphasize, however, that this does not mean th.y are more
important than my earlier insructions. Again, all instructions, whenever
glven and whether in writing or not, must be followed.




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                                                                                      PAUI
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                       JURY INSTRUCTION 2

     It is your drty to find from the evidence what the facts are. You will
then apply the law, as I give it to you, to those facts. You must follow my
instructions on the law. even if you thought the law was different or should
be different.

     Do not allow sympathy or prejudice ro influence you. The law
demands of you a just verdict, unaffected by anything except the evidence,
your common sense, and the law as I give it to you.




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                         JURY INSTRUCTION 3

        I
        have mentioned the word "evidence." The "evidence" in this case
consists of the testimony of witnesses, the documents and other things
received as exhibits.

        You may use reason and common sense to draw deductions or
conclusions from facts which have been established by the evidence in the
case.


        Certain things are not evidence.   I   shall list those things            for you
                                                                         ^ga:rn
now:

        l.
        Statements, arguments, questions and comments                      by     lawyers
representing the parties in the case are not evidence.

      2. Objections are not evidence. Law)rers have a right to object when
they believe something is improper. You should not be influenced by the
objection. If I sustained an objection to a question, you must ignore the
question and must not try to guess what the answer might have been.

      3. Testimony that I struck from the record, or told you to disregard, is
not evidence and must not be considered.

      4. Anything you saw or heard about this case outside the courtroom is
not evidence.

      Finally, if you were instructed that some evidence was received for               a
limited purpose only, you must follow that instruction.
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                        JURY INSTRUCTION 4

       You rr y notice that some of the exhibits in this trial have redactions.
I am instructing you that you need not concern yourself with the redactions,
nor should you speculate as to what has been redacted. The information
that is redacted has been reviewed by both parties and is irreievant to the
case and issues at hand. You should not guess at or consider the content of
the redacted matertal ot the reasons for the redactions.




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                        JURY INSTRUCTION             5

     In deciding what the facts arq you may have to decide what testimony
you believe and what testimony you do not believe. You m^y believe all of
what a witness said, or only part of it, or none of it.

      In   deciding what testimony       to   believe, consider the witness's
intelligence, the opportunity the witness had to have seen or heard the things
testified about, the witness's memory, any motives that witness may have for
testifying a certatn wz;r, the manner of the witness while testifying, whether
that witness said something different           afi earher time, the general
                                            ^t
reasonableness of the testimony, and the extent to which the testimony is
consistent with any evidence that you believe.

     In  deciding whether or not to believe a witness, keep in mind that
people sometimes hear or see things differently and sometimes forget things.
You need to consider therefore whether a contradiction is an innocent
misrecollection or iapse of memoly or an intentional falsehood, and thatmay
depend on whether it has to do with an important fact or only a small detail.

      You should judge the testimony of the defendant in the same manner
as you ludge the testimony of any other witness.




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                           JURY INSTRUCTION            6

      The Indictment in this case charges the Defendant with eight different
crimes: two counts of production of child pornography, one count of
possession of child pornography, one count of distribution of child
pornography, one count of receipt of child pornography, one count of
persuasion and enticement of a minor, one count of commission of a felony
offense involving a minor while required to register as a sex offender, and
one count of obstruction of justice. The Defendant has pleaded not guilry
to those charges.

     The Indictment is simply the document that formally charges the
Defendant with the crime for which he is on trial. The Indictment is not
evidence. At the beginning of the trtal, I instructed you thar you musr
presume the Defendant to be innocent. Thus, the Defendant began the trial
with a clean slate, with no evidence agarnst him.

     The presumption of innocence alone is sufficient to find the
Defendant not guilty and can be overcome only if the United States proved
during the trial, beyond                 doubt, each element of a crime charged.
                           ^reasonable
       There is no burden upon the defendant to prove that he is innocent.
Instead, the burden of proof remains on the government throughout the
trtal.

      I{eep in mind that each count charges a separate crime. You must
consider each count separately and return a separate verdict for each count.




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                        JURY INSTRUCTION            7

      The Indictment charges that the offenses alleged in the Indictment
occurred "on or about" certain dates. Although it is necessary for the lJnited
States to prove beyond a reasonable doubt that each offense was committed
orr a date reasonably near the date alleged in the Indictment, it is not
necessary for the lJnited States to prove that each offense was committed
precisely on the date charged.




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                       JURY INSTRUCTION           8

      Attempts by the Defendant to destroy or make up evidence, or
influence a witness in connection with the crimes charged in this case, may
be considered by you in light of all the other evidence in the case. You may
consider whether this evidence shows a consciousness of guilt and determine
the significance to be attached to any such conduct.




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                        JURY INSTRUCTION           9

      \)7hen a defendant voluntarily and intentionally offers an explanarion
or makes some statement before trial tending to show his innocence, and
this explanatlon or statement is later shown to be false, you may consider
whether this evidence points to a consciousness of guilt. The significance to
be attached to any such evidence is a matter for you to determine.




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                        JURY INSTRUCTION           10

       Reasonable doubt is doubt based upon reason and common sense, and
not doubt based on speculation. A reasonable doubt may ar1se from careful
and impartial consideration of all the evidence, or from alack of evidence.
Ptoof beyond a reasonable doubt is proof of such a convincing character
that a reasonable person , after careful consideration, would not hesit ate to
rely and act upon that proof in life's most important decisions. Proof beyond
a reasonable doubt is proof that leaves you firmly convinced of the
defendant's guilt. Proof beyond a reasonable doubt does not mean proof
beyond all possible doubt.




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                         JURY INSTRUCTION             11


     The crime of Production or Attempted Production of Child
Pornography, as charged in Counts 1 and 2 of the Indictment, has four
elements, which are:

      One,   on or about the date in the Indictment. Minor A was under
      the age of eighteen years;

      Two, the Defendant knowingly used, persuaded, induced,
      enticed, or coerced Minor A to engage in sexually explicit
      conduct;

      Three,   the Defendant acted with the purpose of producing           a
     visual depiction,   or transmitting   a live visual depiction   of such
     conduct; and

     Four, the visual depiction(s) was produced using materials that
     had been mailed, shipped, or transported in and affecting
     interstate or foreign commerce by any means, including by
     cellular telephone.

      You have heard evidence of more than one visual depiction involved
in these offenses. You must agree unanimously as to which visual
depiction(s) the Defendant produced or atrempted to produce.

      The crimes charged in Counts 1 and 2 include the attempt to produce
child pornography. The Defendant m^y be found guilty of an attempt if he:
(1) intended to produce child pornography and (2) voluntarily and
intentionally carned out some act that was a substantial step toward the
production of child pornography. If all of the elements have been proved
beyond a re^sonable doubt as to a completed crime or afi attempt, then you
must find the Defendant guilty of the crime charged; otherwise you must
find the Defendant not guilty.

     A person is "used" if they are photographed or videotaped.
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      "Sexually explicit conduct" means, in reievantpart, actualor simulated
sexual intercourse, masturbation, or the lascivious exhibition of the genitals
or pubic area of any person.

      The term "visual depiction" includes any photograph, picture, or
computer-generated image or picture, whether made or produced by
electronic, mechanical, or other means. It includes d.ata stored on a
computer disk or by elecuonic means which is capable of conversion into       a
visual image.

      An item is "produced" if it is produced, directed , manufactured, issued,
published, created, made, or is in any other way brought into being by the
involvement of an individual participating in the recording of child
po{nography.

      The United States is not required to prove that the Defendant knew
that Minor A was under the age of eighteen.

     Although this instruction applies to Counts 1 and 2, keep in mind that
you should consider whether the United States has proven each element
beyond a reasonable doubt as to each Count separately. If a\l of these
elements have been proved beyond a reasonable doubt, then you must find
the Defendant guilry of the crime charged; otherwise you must find the
Defendant not guilty




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                        JURY INSTRUCTION            12

       \Thether a visual depiction of the genitals or pubic area constitutes a
lascivious exhibition requires a consideration of the overall content of the
 materle.\. You may consider such factors as (1) whether the focal point of
the picture is on the minor's genitals or pubic are^; (2) whether the setting
of the pictute is sexually suggestive, that is, in a place or pose generally
associated with sexual activity; (3) whether the minor is depicted 7n ar:-
unnatural pose or in inapproprtate atti-re, considering the age of the minor;
(4) whether the minor is fully or parttally clothed, or nude; (5) whether the
picture suggests sexual coyness or a willingness to engage in sexual acttvtty;
(6) whether the picture is intended or designed to elicit a sexual response in
the viewer; (7) whether the pictureportre,ys the minor as a sexual object; and
(8) the caption(s) on the picture(s).

      It is for you to decide the weight or lack of weight to be glven to any
of these factors. A picture need not involve all of these factors to constitute
a iascivious exhibition of the genitals or pubic are^.




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                       JURY INSTRUCTION           13


      The phrase "interstate commerce" means commefce between any
combination of states, territories, and possessions of the United States,
including the District of Columbia.

       The phrase "foreign commerce" means commerce between any state,
territory or possession of the United States and a foreign counffy.

     The term "commerce" includes, among other things, travel, ttad,e,
transportation and communication.

       Images transmitted or received over the Internet have moved in
interstate or foreign commerce. It is for you to determine, however, if the
matettal containing the visual depiction had been transmitted or received
over the Internet, or was produced using materials that had been transmitted
or received over the Internet.




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                          JURY INSTRUCTION           14

      The crime of Distribution of Child Pornography, as charged in Count
3 of the Indictment, has three elements. which are:

         One, thaton or about August 8,201,8, the Defendant knowingly
         disuibuted one or more electronic files that contained visual
         depictions of child pornography;

         Two, that the Defendant knew that the visual depictions were   of
         a minor engaging in sexually explicit conduct; and


         Three,the visual depictions were distributed using a means or
         faaJtty of interstate or foreign commerce, or were maiied,
         shipped, or transported in interstate or foreign commerce.

       You have heard evidence of more than one visual depiction involved
in this offense. You must agree unanimously as to which visual depiction(s)
the Defendant distributed.

         The term "minor" means any person under the age of eighteen years.

     The definitions and instructions I gave you as to Counts 1 and 2 as to
the terms "sexually explicit conduct," "visual depiction," ,.interstate
commef ce," "foteign commefce," and "commefce" apply here as wel1.

     The instruction you u/ere provided as to what constitutes "lascivious
exhibition of the genitals or pubic area of any person" also appiies here.

         If
         all of these elements have been proved beyond a reasonable doubt
as to the Defendant then you must find the Defendant guilry of the crime
charged in Count 3; otherwise you must find the Defendant not guilry of this
crime.




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                           JURY INSTRUCTION            15


      The crime of Possession of Child Pornography, as charged in Count 4
of the Indictment, has three elements, which are:

         one, that on or about the date listed in the Indictment, the
         Defendant knowingly possessed one or more electronic files that
         contained visual depictions of child pornography;

         Two, the Defendant knew that the visual depiction(s) was        of   a
         minor engaging in sexually explicit conduct; and

         Three, the visual depiction(s) was mailed, shipped,   or transported
                          a.
         1n lntefstate or torelgn commerce.


         As to Count 4, you have heard evidence of more than one visual
depiction involved in the offense. You must        unanimously as to which
visual depiction(s) the Defendant possessed. ^gree


      The definitions and instructions I gave you as to Counts 1 and 2
regarding the terms "minof," "sexrJally explicit conduct," "visual depiction,"
"interstate commefcer" "foreign corrunefcer" and "commerce" apply here            as
we1l.


         The instruction you were provided regarding what           constitutes
"lascivious exhibition of the genitals or pubic area of anl person" also applies
here.

        If
         all of these elements have been proved beyond a reasonable doubt
as to the Defendant then you must find the Defendant guilty of the crime
charged in Count 4; otherwise you must find the Defendant not guilry of this
cf1me.




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                           JURY INSTRUCTION             16


    The crime of Persuasion and Enticement of a Minor, as charged in
Count 5 of the Indictment, has three elements, which are:

          one, fromon or about April r,201,8, through on or about August
         8, 2018, the Defendant knowingly used a facitq or means of
         interstate or foreign commerce, to persuade, induce, or entice an
         individual under eighteen years of age, Minor A, to engage in
         sexual activity, that is, the production or attempted production
         of child pornography;

         Two, the Defendant believed that    Minor A was less than eishteen
         years of age. and

              if the sexual activity had occurred, or tn fact did occur, the
         Three,
         Defendant could have been charged with a criminal offense
         under the laws of the United States or the state of Minnesora.

         It is not necessary for the United States to prove that Minor A was
actually persuaded, induced, ot enticed to engage in the production of child
pornography; but it is necess ary for the United States to prove that the
Defendant intended to engage in the production of child pornography with
Minor A and knowingly and willfully took some action that was a substantial
step toward bringrng about         or   engaging   in the production of        child
pornography.

         If
         all of these elements have been proved beyond a reasonable doubt
as to the Defendant then you must find the Defendant guilry of the crime
charged in Count 5; otherwise you must find the Defendant not guilry of this
crime.




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                          JURY INSTRUCTION            17

      The crime of Committing a Felony Offense Involving a Minor I7hile
Required to Register as a Sex Offender, as charged in Count 6 of the
Indictment has three elements. which are:

         One, from on or about  April 1,,2018, through on or about August
         8,2018, the Defendant was required to registe r as a sex offender
         under federal law or the laws of the state of Minnesora:

         Two,the Defendant committed at least one of the felony offenses
         charged in Counts 1 or 2 of the Indicrment (production of child
         pornography), or Count 5 of the Indictment (persuasion and
         enticement of a minor); and

         Three,the felony offense committed by the Defendant involved
         a minor who was less than eighteen years of age at the time.


         If
         all of these elements have been proved beyond a reasonable doubt
as to the Defendant then you must find the Defendant guilty of the crime
chatged in Count 6; otherwise you must find the Defendanr not guilty of this
crime.




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                             JURY INSTRUCTION          18

      The crime of Receipt of Child Pornography, as charged in        Counti of
the Indictment, has three elements, which are:

          one, that on or about September 6, 201,7, the Defendant
         knowingly received one or more electronic files that cont   atned, a
         visual depiction of child pornography;

         Two, that the Defendant knew that the visual depiction was of     a
         minor engaging in sexually explicit conduct; and

         Three, the visual depiction was mailed, shipped, or transported in
         interstate or foreign commerce.

         The definitions and instructions I gave you befo re rcgarding the terms
"minor," "sexually explicit conduct," "visual depicttn,,,              ,.interstate
commef ce," "fofeign commefce," and "commerce" apply here as well.

         The instruction you were provided regarding what           constitutes
"iascivious exhibition of the genitals or pubic area of anv person" also applies
I
nefe.

         If
         all of these elements have been proved beyond a reasonable doubt
as to the Defendant, then you must find the Defendant guilty of the crime
charged in Count 7; otherwise you must find the Defenda.rt.rot guilty of this
crime.




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                          JURY INSTRUCTION           19

         The crime of Obstruction of Justice, as charged in Count 9 of the
Indictment, has three elements, which       are:

         one, from on or about June 20, 201,9, through on or about
         october 1.1, 201,9, the Defendant knowingly requested and
         manipulated witness C.M. to testify falsely regardin g    alleged
         three-way telephone call involving Minor A;            ^n

         Two, the Defendant knew that this case, United States u. Trauis
         Maler, 19-cr-96 (\7MW/HB), a judtctalproceeding, was pending
         at the time; and

         Tbree, by requesting and
                                manipulating c.M. to testify falseiy, the
         Defendant corrupdy endeavored to influence, obstruct, of
         impede the due administration of justice.

         The phrase "corrupdy endeavored" means that the              Defendant
voluntarily and intentionally sought to elicit false testimony from a witness,
C.M., and that in doing so, he acted with the intent to influence judicial or
grand jury proceedings so as to benefit himself. The ende avorneed not have
been successfui, but it must have had at least a reasonable tendency to
impede a grand lvry, or a tlral )uty, in the discharge of its duties.

         If
         all of these elements have been proved beyond a reasonable doubt
as to the Defendant, then you must find the Defendant guilry of the crime
charged in Count 9; otherwise you must find the Defendant not guilry of this
crime.




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                       JURY INSTRUCTION 20

     Intent or knowledge may be proved like anything e1se. you may
consider any statements made and acts done by the Defendant, and all the
facts and circumstances in evidence that may aid. in a determination of the
Defendant's knowledge or intent.
     You may,but are not required to, infer thataperson intends the natural
and probable consequences of acts knowingly done or knowingly omitted.




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                 JURY INSTRUCTION           21


A minor may not legally consent to being sexually exploited.
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                         JURY INSTRUCTION 22

       In conducting yout deliberadons and returning your verdict, there      are
 certain rules you must follow. I will list those rules for you now.

     First, when you go to the jury room, you must select one of youf
members as your foreperson. That person will preside over your discussions
and speak for you here in court.

       Second, it is your d.tty, as jurors, to discuss this case with one another
in the jury room. You should try to reach agreement if you can do so without
violence to individual iudgment, becarrr. u ysldigl-u/hether guilry or not
guilty-mus t be unanimous.

       E,ach of you must make your o'wn conscientious decision, but only
 -
after you have considered   all the evidence, discussed it ful1y with your fellow
jurors, and listened to the views of your fellow jurors.

      Do not be afratd to change your opinions if the discussion persuades
you that you should. But do not come to a decision simply because other
jurors think it is right, or simply to reach a verdict

     Third, if the defendant is found guilty, the sentence to be imposed is
my responsibility. You may not consider punishment in any way in deciding
whether the government has proved its case beyond a reasonable doubt.

     Fourth, if you need to communicate with me during your deliberations,
you may send a note to me through the marshal or bailiff, signed by one or
more jurors. I will respond as soon as possible either in writing or orally in
opencourt.Rememberthatyoushou1dnottellanyone-inc1uding
how your votes stand numerically.

      F'ifth, your verdict must be based solely on the evidence and on the
law which I have given to you in my instructions. The verdict, whether guilty
ot not guilty, must be unanimous. Nothing I have said or done is intended
to suggest what your verdict should be. That is entirely for vou to decide.
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       Finally, the verdict form is simply the wdtten notice of the decision
that you reach in this case. The form reads: fCourt reads uerdixforzl. You will
take this form to the jury room, and when each of you has-agreed on the
verdict, your foteperson will fill in the form, sign and date it. After doing
so, please advise the marshal or bailiff that you arc rcady to return to the
couftfoom.




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